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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 14-cv-02839-RM-NYW

   DAKOTA STATION II CONDOMINIUM ASSOCIATION, INC.,
   a Colorado nonprofit corporation

   Plaintiff and Counterclaim Defendant,

   vs.

   OWNERS INSURANCE COMPANY, a Michigan corporation,

   Defendant and Counterclaimant,

   And

   OWNERS INSURANCE COMPANY, a Michigan corporation,

   Third Party Plaintiff,

   vs.

   SCOTT BENGLEN, CLAIM SOLUTIONS, LLC, a Colorado company, SUSAN CWIK,
   GUNBARREL WEST REAL ESTATE COMPANY, a Colorado corporation d/b/a Countryside
   Asset Management Corporation and Haven Property Managers & Advisors,

   Third Party Defendants.
   ______________________________________________________________________________

                    MOTION TO WITHDRAW AS COUNSEL OF RECORD
   ______________________________________________________________________________

           Matthew W. Hall, pursuant to D.C.COLO.LAttyR 5(b), hereby submits his Motion to

   Withdraw as Counsel for Defendant Owners Insurance Company and, as grounds therefor, states

   as follows:
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                                       Certification of Conferral

          The undersigned conferred with continuing counsel for Owners Insurance Company,
   counsel for Plaintiff Dakota Station II Homeowner’s Association, and counsel for Defendants
   Susan Cwik and Gunbarrel West Real Estate Company, and was advised those parties do not
   object to the relief sought herein. The undersigned attempted to confer with counsel for
   Defendant Scott Benglen, but as of the time of filing has not learned Mr. Benglen’s position.

                                AUTHORITIES AND ARGUMENT

          1.      Undersigned counsel moves this Court for an order permitting his withdrawal as

   counsel for Defendant Owners Insurance Company (“Owners”).

          2.      Undersigned counsel entered his appearance in this matter on behalf of Owners on

   November 6, 2014. See Entry of Appearance (Doc. No. 15).

          3.      Co-counsel for Defendant Owners, Karen H. Wheeler, has left the firm of

   Levy•Wheeler•Waters, P.C., and will continue her representation of Owners in this matter

   through her new firm of Wheeler Waters, P.C. Undersigned counsel is remaining with the firm

   of Levy•Wheeler•Waters, P.C. (now known as Levy Law, P.C.).

          4.      A copy of this motion is being served on opposing counsel, as well as Owners.

   See D.C.COLO.LAttyR 5(b).

          5.      Owners continues to be represented by counsel and has been advised that, as a

   corporate entity, it must act through counsel, and has further been advised that it is responsible

   for complying with all applicable deadlines.

          WHEREFORE, undersigned counsel respectfully requests that this Court enter an order

   granting his withdrawal from this case.

          Dated this 10th day of October, 2017.



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                                     Respectfully submitted,

                                     s/ Matthew W. Hall
                                     Matthew W. Hall
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                                     Attorney for Defendant




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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 14-cv-02839-RM-NYW

   DAKOTA STATION II CONDOMINIUM ASSOCIATION, INC.,
   a Colorado nonprofit corporation

   Plaintiff and Counterclaim Defendant,

   vs.

   OWNERS INSURANCE COMPANY, a Michigan corporation,

   Defendant and Counterclaimant,

   And

   OWNERS INSURANCE COMPANY, a Michigan corporation,

   Third Party Plaintiff,

   vs.

   SCOTT BENGLEN, CLAIM SOLUTIONS, LLC, a Colorado company, SUSAN CWIK,
   GUNBARREL WEST REAL ESTATE COMPANY, a Colorado corporation d/b/a Countryside
   Asset Management Corporation and Haven Property Managers & Advisors,

   Third Party Defendants.
   ______________________________________________________________________________

                             CERTIFICATE OF SERVICE
   ______________________________________________________________________________

          I hereby certify that on October 10th, 2017, I caused the foregoing MOTION TO
   WITHDRAW AS COUNSEL OF RECORD to be submitted to the Clerk of Court for filing and
   uploading to the CM/ECF system, which will send notification of such filing to the following e-
   mail address:

   Jonah G. Hunt, Esq.                             David J. Furtado, Esq.
   Christopher M. Drake, Esq.                      Dominick Ryals, Esq.



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                                                Gunbarrel Real Estate Company and Susan
   Attorneys for Owners Insurance Company       Cwik




                                            /s/ Matthew W. Hall _______________




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